 Fill in this information to identify your case:

 Debtor 1                  David Garcia
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF ALABAMA

 Case number           19-80539
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                             Dates Debtor 2
                                                                lived there                                                                     lived there
        3131 E. ALAMEDA AVENUE #2101                            From-To:                        Same as Debtor 1                                   Same as Debtor 1
        DENVER, CO 80209                                        2013 - MARCH                                                                    From-To:
                                                                2017

        3333 E. BAYAUD AVENUE, #907                             From-To:                        Same as Debtor 1                                   Same as Debtor 1
        DENVER, CO 80209                                        APRIL 2017 -                                                                    From-To:
                                                                JANUARY 2018


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)
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                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $67,185.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                      $103,425.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                   $1,381,552.00            Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       DAVID CHENAULT                                           4/25/18                         $8,732.13                 $0.00     DEBTOR DISPUTES THAT
                                                                                                                                    THIS IS AN INSIDER
                                                                                                                                    PAYMENT BUT LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: THIS AMOUNT
                                                                                                                                    WAS PAID TO AN
                                                                                                                                    EMPLOYEE WHO WORKED
                                                                                                                                    ON A PROJECT FROM A
                                                                                                                                    PRIOR COMPANY. THIS IS
                                                                                                                                    AN EMPLOYEE PAYMENT.

       PEDRO & LINDA GARCIA                                     4/25/18                         $2,910.71                 $0.00     DEBTOR DISPUTES THAT
       6375 N. FELAND AVENUE                                                                                                        THIS IS AN INSIDER
       FRESNO, CA 93711                                                                                                             PAYMENT BUT IS LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: HIS PARENTS
                                                                                                                                    WERE INVESTORS IN A
                                                                                                                                    BUSINESS VENTURE AND
                                                                                                                                    HE PAID THEM THIS
                                                                                                                                    AMOUNT FROM THE FINAL
                                                                                                                                    INSTALLMENT OF A
                                                                                                                                    DEVELOPER FEE HE
                                                                                                                                    RECEIVED FROM THAT
                                                                                                                                    BUSINESS AS INVESTORS
                                                                                                                                    NOT AS HIS PARENTS.

       JENNIFER GOMEZTREJO                                      4/25/18                         $2,910.71                 $0.00     DEBTOR DISPUTES THAT
       1075 E. RIDGEWOOD ST.                                                                                                        THIS IS AN INSIDER
       LONG BEACH, CA 90807                                                                                                         PAYMENT BUT IS LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: HIS SISTER
                                                                                                                                    WAS AN INVESTOR IN A
                                                                                                                                    BUSINESS VENTURE AND
                                                                                                                                    HE PAID HER THIS
                                                                                                                                    AMOUNT FROM THE FINAL
                                                                                                                                    INSTALLMENT OF A
                                                                                                                                    DEVELOPER FEE HE
                                                                                                                                    RECEIVED FROM THAT
                                                                                                                                    BUSINESS AS INVESTORS
                                                                                                                                    NOT AS HIS SISTER.

       JEFF DEAN                                                4/25/2018                     $17,464.26                  $0.00     DEBTOR DISPUTES THAT
                                                                                                                                    THIS IS AN INSIDER
                                                                                                                                    PAYMENT BUT LISTING
                                                                                                                                    OUT OF ABUNDANCE OF
                                                                                                                                    CAUTION: THIS AMOUNT
                                                                                                                                    WAS PAID TO AN
                                                                                                                                    EMPLOYEE WHO WORKED
                                                                                                                                    ON A PROJECT FROM A
                                                                                                                                    PRIOR COMPANY. THIS IS
                                                                                                                                    AN EMPLOYEE PAYMENT.


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       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       MICHELLE GARCIA                                          4/25/18                       $20,564.29                  $0.00     THE DEBTOR DISPUTES
       788 S. WILLIAMS STREET                                                                                                       THIS IS AN INSIDER
       DENVER, CO 80209                                                                                                             PAYMENT SINCE IT WAS
                                                                                                                                    COURT ORDER PURSUANT
                                                                                                                                    TO A TEMPORARY ORDER
                                                                                                                                    IN A DOMESTIC CASE BUT
                                                                                                                                    HE IS LISTING OUT OF
                                                                                                                                    ABUNDANCE OF CAUTION.
                                                                                                                                    THE DEBTOR WAS TO PAY
                                                                                                                                    SUPPORT PAYMENTS TO
                                                                                                                                    EX-WIFE BASED UPON
                                                                                                                                    TERMPORARY ORDERS
                                                                                                                                    AND THIS WAS PAYMENT
                                                                                                                                    FROM THE DISTRIBUTION
                                                                                                                                    HE RECEIVED TO BRING
                                                                                                                                    THAT AMOUNT CURRENT.
                                                                                                                                    THE DEBTOR IS
                                                                                                                                    CURRENTLY BEHIND ON
                                                                                                                                    HIS DOMESTIC SUPPORT
                                                                                                                                    OBLIGATIONS.


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       DAVID GARCIA VS.                                         DISTRICT COURT,                                                        Pending
       MICHELLE GARCIA                                          CITY AND                                                               On appeal
       2017DR30461                                              COUNTY OF
                                                                                                                                       Concluded
                                                                DENVER,
                                                                COLORADO

       DAVID GARCIA VS.                                         CIVIL LAWSUIT               DISTRICT COURT OF                          Pending
       TIMOTHY A. & MARIA ROBINSON                              FOR LEASE                   MONTGOMERY                                 On appeal
       DV-2018-900990                                           DEFICIENCY                  P.O. BOX 1667
                                                                                                                                       Concluded
                                                                                            MONTGOMERY, AL
                                                                                            36102-1667

       WYNLAKES RESIDENTIAL                                     COLLECTION OF               CIRCUIT COURT OF                           Pending
       HOMEOWNERS, INC. VS.                                     HOMEOWNER                   MONTGOMERY COUNTY                          On appeal
       JANICE D. RAY ET AL                                      DUES                        251 S. LAWRENCE STREET
                                                                                                                                       Concluded
       03-CV-2018-901931                                                                    MONTGOMERY, AL 36104




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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       STATE OF ALABAMA EX REL.                                 CHILD SUPPORT               LEE COUNTY CHILD                            Pending
       MICHELLE L. GARCIA VS.                                                               SUPPORT                                     On appeal
       DAVID P. GARCIA                                                                      LEE COUNTY JUSTICE
                                                                                                                                        Concluded
       CS-2019-900076                                                                       CENTER
                                                                                            2311 GATEWAY DRIVE
                                                                                            OPELIKA, AL 36801


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                      Describe the gifts                                     Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                  Describe what you contributed                          Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.



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 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment                Amount of
       Address                                                         transferred                                            or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       BOND, BOTES, SHINN & DONALDSON,                                 CASH                                                   1/7/2019                    $1,335.00
       P.C.                                                            (INCLUDES $335 FILING FEE)
       P.O. BOX 4479
       MONTGOMERY, AL 36103


       ALLEN CREDIT & DEBT COUNSELING                                  CASH                                                   10/                           $25.00
       AGENCY
       20003 387TH STREET
       WOLSEY, SD 57384


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                  Date payment                Amount of
       Address                                                         transferred                                            or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                    Description and value of                 Describe any property or        Date transfer was
       Address                                                         property transferred                     payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       MICHELLE GARCIA                                                 2012 CHEVROLET                           $0 - TRANSFERRED                10/1/18
       788 S. WILLIAMS STREET                                          SUBURBAN, $13,300 PER                    PURSUANT TO A
       DENVER, CO 80209                                                KBB                                      COURT ORDER

       EX-WIFE

       AUBURN PAWN                                                     ROLEX WATCH                              $2,500                          3/5/2018
       920 OPELIKA ROAD                                                SUBMARINER
       AUBURN, AL 36830



       OPELIKA FORD                                                    2011 JEEP GRAND                          $14,800 ($7,000 WENT            9/14/2018
       801 COLUMBUS PARKWAY                                            CHEROKEE                                 TO EX-WIFE AND
       OPELIKA, AL 36801                                                                                        BALANCE WENT TO
                                                                                                                HELP PAY LIVING
                                                                                                                EXPENSES TO NOW)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
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      beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                   Description and value of the property transferred                       Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of             Type of account or         Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number               instrument                 closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       WELLS FARGO                                              XXXX-0398                      Checking                 JANUARY 2018                   Unknown
       PO BOX 660455                                                                           Savings
       DALLAS, TX 75266-0455
                                                                                               Money Market
                                                                                               Brokerage
                                                                                               Other

       XCEL ENERGY & XFINITY                                    XXXX-8618                      Checking                 JANUARY 2018                   Unknown
                                                                                               Savings
                                                                                               Money Market
                                                                                               Brokerage
                                                                                               Other

       VERIZON WIRELESS                                         XXXX-0001                      Checking                 JANUARY 2018                         $0.00
                                                                                               Savings
                                                                                               Money Market
                                                                                               Brokerage
                                                                                               Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                   Who else had access to it?          Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City,                                            have it?
                                                                       State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                        Who else has or had access          Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)              to it?                                                                    have it?
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

       SUN SELF STORAGE                                                SELF                                FURNITURE                                No
       601 OPELIKA ROAD                                                                                                                             Yes
       AUBURN, AL 36830




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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                    Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)              (Number, Street, City, State and ZIP
                                                                       Code)

       PEDRO & LINDA GARCIA                                            743 OAKDALE DRIVE                          2008 VOLKSWAGON PASSAT                    $3,644.00
       6375 N. FELAND AVENUE                                           AUBURN, AL 36830
       FRESNO, CA 93711


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                    Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)              Address (Number, Street, City, State and      know it
                                                                       ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                      Court or agency                            Nature of the case                  Status of the
       Case Number                                                     Name                                                                           case
                                                                       Address (Number, Street, City,
                                                                       State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation
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             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        NATIONAL HOUSING                                        REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        PRESERVATION ADVISORS,
        743 OAKDALE DRIVE                                       ACCOUNTANT: MICHAEL SOUSA                        From-To      JULY 2017-PRESENT
        AUBURN, AL 36830                                        PLANTE MORAN
                                                                8181 EAST TUFTS
                                                                DENVER, CO 80237
                                                                BOOKKEEPER: HOLLY
                                                                KRUMHOLZ
                                                                KRUMHOLZ ACCOUNTING
                                                                SERVICES
                                                                4860 FLORA STREET
                                                                GOLDEN, CO 80403

        NHPA DEVELOPMENT, LLC                                   REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        2415 MOORES MILL ROAD, STE
        265-218                                                                                                  From-To      JUNE 2018 - PRESENT
        AUBURN, AL 36830

        CAMBRIDGE HOUSING                                       REAL ESTATE DEVELOPMENT                          EIN:         XX-XXXXXXX
        PARTNERS, LLC
        606 POPLAR AVENUE, STE 425                              ACCOUNTANT: DEVESH KAMAL                         From-To      APRIL/MAY 2013-PRESENT
        MEMPHIS, TN 38119                                       CLARK SCHAEFER HACKETT
                                                                14 E. MAIN STREET, STE 500
                                                                SPRINGFIELD, OH 45502
                                                                BOOKKEEPER: STEVE CURVINO
                                                                6060 POPLAR AVENUE, STE 425
                                                                MEMPHIS, TN 38119


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David Garcia
 David Garcia                                                            Signature of Debtor 2
 Signature of Debtor 1

 Date      June 3, 2019                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 9
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 Debtor 1      David Garcia                                                                                Case number (if known)   19-80539



   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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